Case 2:04-Cv-02209-.]PI\/|-tmp Document 19 Filed 07/06/05 Page 1 of 2 Page|D 11

IN THE UNITED sTATEs DISTRICT coURTl\BBY-- -""'M`

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BETTY sM:cTH, \J..'S SWCTM
… MEMP\-\S
Plaintiff,
v. No. 04-2209 Ml/P

JO ANNE B. BARNHART,
COMMISSIONER OF SOCIAL SECURITY,

Defendant.

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ORDER OF REFERENCE

 

Pending before the Court is Plaintiff's Social Security
Appeal, filed March 26, 2004. Plaintiff filed a brief in support
of her appeal on July 7, 2004. Defendant responded in opposition
on September 14, 2004. Plaintiff filed a reply to Defendant's
response on October 12, 2004.

This matter is hereby referred to the United States
Magistrate Judge for report and recommendation. Any exceptions
to the Magistrate Judge’s order shall be made within ten (10)
days of the Magistrate Judge’s order, setting forth particularly
those portions of the order excepted to and the reasons for the
exceptions.

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so oRDERED this §§ day of July, 2005.

M“@@Q

JO' P. McCALLA
U TED sTATEs DISTRICT JUDGE

 

Thfs document entered on the docket sheet ln compliance
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Honorable J on McCalla
US DISTRICT COURT

